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DONELL FREEMAN
Plaintiff

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KABEERUDDIN HASHMI, MD; KEVIN
MCDONNELL, MD; DR. JOHN DOE, MD;
MONMOUTH COUNTY CORRECTIONAL
INSTITUTION, DONALD SUTTON; JOHN
DOES A-E, CORRECT CARE SOLUTIONS
LLC d/b/a WELLPATH, SCOTT MILLER, MD,
ST. FRANCIS MEDICAL CENTER, ZIMMER
BIOMET HOLDINGS, COUNTY OF
MONMOUTH, DEPARTMENT OF
CORRECTIONS, SATE OF NEW JERSEY,
STATE OF NEW JERSEY

Defendants

 

File # 18172

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

TRENTON VICINAGE

Docket No.: 3:18-cv-7802

CASE MANAGEMENT ORDER

This matter having come before the Court by way of a Case Management Conference on

Monday, October 7, 2019, Dominic A. DeLaurentis, III, Esquire of Stahl & DeLaurentis, P.C.,

being present on behalf of defendant St Francis Medical Center and the Court having considered

the request of all parties, and no good cause being shown to the contrary,

IT 1S on this _// th day of Gefob4!” 9019, ORDERED and ADJUDGED that

pursuant to agreement of the parties at the October 7, 2019 Case Management Conference the

following deadlines are hereby established:

1. The following deadlines are to be followed regardless of the status of any

pending Motion.

2. Plaintiffs counsel is to serve St. Francis Medical Center with written discovery

requests regarding the hip replacement product information as well as the

related medical record release authorizations by October 15, 2019.
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3. St. Francis Medical Center is to respond to plaintiff's written discovery request
regarding the hip replacement product information by November 30, 2019,

4. Parties are to serve all written discovery by January 1, 2020.

5. Parties are to serve responses to all written discovery by March 1, 2020.

6, A status conference call will be conducted in-Mareh-ef 2020-at-a.date_and-time

on March 4, 2020 @ loam

decided by the-Geurt.

7. Any disputes regarding written discovery are to be raised prior to April 15,

2020.

8. All other discovery deadlines shall be established pending the outcome of

Motion practice.

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